Case 4:21-cv-00156-SMR-SBJ Document1 Filed 05/25/21 Page 1 of 32

UNITED STATES DISTRICT COURT

FOR THE SOUTHERN DISTRICT OF IOWA

NEAL PATRICK O'FLAHERTY
DYLAN KEITH O'FLAHERTY,
Plaintiffs,

STATE OF NEVADA EX. REL..,

on behalf of University Police
Services and Las Vegas
Metropolitan Police Department;
STEPHEN F. SISOLAK: AARON
D. FORD: STEVEN B. WOLFSON:
JOSEPH LOMBARDO: STEPHEN
CONNELL; JARVIS DUDLEY; No.
BRAD JANECEK; CARLOS
HANK; FELIX FELIX; CIERRA
SPRONK-LAIR; ADAM GARCIA:
JUANITA FAIN; PAUL VELEZ;
MANUEL WILLIAM SIGARROA;:
YUSUF ALLIYANI RYAN
WILLMAN: MICHAEL WEST,

Defendants.
Case 4:21-cv-00156-SMR-SBJ Document 1 Filed 05/25/21 Page 2 of 32

1. The brutality suffered by Plaintiffs perpetrated by each named Defendant provides Plaintiffs
with legal cause of action to file civil suit against Defendants under 42 U.S. Code § 1983.
Defendants have engaged in systemic, criminal violations of the civil, constitutional, consumer,
due process. free speech. humans’, students’, and victims of violent crimes nights of Plaintiffs.
The intentional and reckless misconduct of Defendants has led to Plaintiffs experiencing

needless pain and suffering, severe mental and emotional distress, and loss of enjoyment of life.

2. Legal cause(s) of action in this case include: 42 U.S. Code § 1983, 4" Amendment violations,
abuse of authority, corruption, false arrest and imprisonment, falsification of evidence,
harassment, intentional/reckless infliction of severe emotional distress, perjury. and spoliation of

evidence.

3. Plaintiffs were made victim of assault, battery, harassment, first-degree kidnapping, and
doxing of private, personal information with criminal intent by a gang of over one dozen armed-
and-dangerous, narcotics-trafficking, gang-affiliated individuals immediately following the
Spring 2019 semester. This gang included at least three active University of Nevada, Las Vegas
(UNLV) students and two active College of Southern Nevada (CSN) students. These crimes
were directly aided and abetted by an additional UNLV student who worked for the “student
housing” property at which these crimes occurred. The accrediting agency for UNLY, the
Northwest Commission on Colleges and Universities (NWCCU) has confirmed that UNLV staff,
administrators, and legal counsel have engaged in a pattern of “fraudulent communications”
regarding UNLV’s business relationship with this campus-adjacent “student housing” complex in

these matters.

4. Plaintiffs promptly provided swom statements to the Las Vegas Metropolitan Police

Department regarding these crimes. These sworn statements provided the basis for the State of
Case 4:21-cv-00156-SMR-SBJ Document1 Filed 05/25/21 Page 3 of 32

Nevada’s Victims of Crime Program (VOCP) approving both Plaintiffs as members of the VOCP.
The VOCP is directly overseen by Nevada Governor Steve Sisolak and Nevada Attorney General
Aaron D. Ford. Despite being repeatedly advised of the victimization suffered by Plaintiffs,
Defendants Sisolak and Ford failed in their legal obligations to inform Plaintiffs of their legal

right to file for restitution with the VOCP.

5, Upon being made victims of violent crime, Plaintiffs did exactly as university students are
instructed to do in such circumstances: Plaintiffs asked university administrators to help in

facilitating resolution of the emergency physical safety issues being experienced.

6. As confirmed victims of violent crimes, Plaintiffs possess specific legal rights, including the
right to dignified and respectful treatment by prosecutors and law enforcement and the right to
reasonable protection from the person or persons accused of the crime. These rights have been

flagrantly violated at all times by Defendants in this case.

7, UNLV’s University Police Services headquarters was locked on two consecutive dates
immediately following the first-degree kidnappings of Plaintiffs. Further, Plaintiffs attempted to

call the phone number listed for University Police Services and received no response.

8. On the second consecutive date that UNLV University Police Services was physically closed
to the public, Plaintiffs attempted to file sworn criminal reports with the Las Vegas Metropolitan
Police Department; LVMPD’s South Central Area Command was closed to the public on this
date as well. The following day, Plaintiffs were finally able to successfully file sworn criminal
reports with LVMPD. Plaintiffs were directly advised by South Central Area Command
personnel that Plaintiffs physical safety was in grave danger, and that Plaintiffs should relocate

from the “student housing” complex Plaintiffs were residing in at the time.
Case 4:21-cv-00156-SMR-SBJ Document 1 Filed 05/25/21 Page 4 of 32

9. On the date of Friday, June 7, 2019, an employee directly supervised by former UNLV
University Police Services Associate Vice President Juanita Fain stated that she would
investigate the matter of University Police Services being closed to the public on two
consecutive dates and would provide an explanation to Plaintiffs for this failure of University
Police Services to provide a safe and secure campus environment. Such a response was never

provided by UNLV.

10. Also, on the date of June 7, 2019, Plaintiffs were directed by an employee directly
supervised by former UNLV University Police Services Associate Vice President Juanita Fain to
terminate their rental agreement at the “student housing” complex at which Plaintiffs had been
kidnapped. This UNLV employee specifically instructed Plaintiffs to cite NRS 33.018 as the
underlying basis for the termination of Plaintiffs’ rental agreement. Plaintiffs were not natives of
the State of Nevada, and as a result, were generally unfamiliar with Nevada state laws. Plaintiffs
did as instructed by the university employee and submitted a termination of rental agreement.

11. This termination notice was notarized by the university employee, who was/is a Notary
Public within the State of Nevada. LVMPD officer Brad Janecek subsequently informed
Plaintiffs that this university employee was factually incorrect in stating that NRS 33.018 applied
to Plaintiffs. The negligent misinformation supplied to Plaintiffs regarding NRS 33.018 directly
led to the “student housing” complex at which Plaintiffs were kidnapped refusing to return the

security deposit paid by Plaintiffs.

12. On the date of Monday, June 10, 2019, former UNLV University Police Services Associate
Vice President Juanita Fain directly approved Plaintiffs for an “emergency loan” for Plaintiffs to
relocate from the location of Plaintiffs’ first-degree kidnappings. On the dates of June 7 and June

10, 2019, Plaintiffs were repeatedly subjected to fraudulent misrepresentations from multiple
Case 4:21-cv-00156-SMR-SBJ Document 1 Filed 05/25/21 Page 5 of 32

UNLV staff and administrators regarding UNLV’s active business relationship with the “student
housing” complex at which Plaintiffs were kidnapped. UNLV staff and administrators clearly
displayed criminal intent in fraudulently denying the existence of a business relationship with
this “student housing complex”. Former UNLV University Police Services Associate Vice
President Juanita Fain and employees directly supervised by Juanita Fain were informed on June
10, 2019 by Plaintiffs that Plaintiffs were aware of the direct business relationship between

UNLV and the “student housing” complex at which Plaintiffs were kidnapped. Plaintiffs directly
informed Juanita Fain and staff in her office on June 10, 2019 that Plaintiffs had direct
knowledge of UNLV’s Reprographics office using university funds to produce advertising
materials for this “student housing” complex. On the afternoon of June 10, 2019, unknown
individuals employed by UNLV and/or the Nevada System of Higher Education (NSHE) began
physically removing signs labeling the “Reprographics/Design Services/Copy Center” building

on UNLV’s campus as “Reprographics”; the name of the building was subsequently changed.

13. Since June 2019, UNLV and NSHE have steadfastly refused to acknowledge that UNLV
outside legal counsel Christian E. Hardigree has directly approved Plaintiffs to receive treble
damages from UNLV for lost wages as a result of the first-degree kidnappings suffered by

Plaintiffs.

14. On July 3, 2019, Plaintiffs held an in-person meeting with an elected CSUN (UNLV student
government) officer/representative regarding the university’s criminally negligent response to the
crimes suffered by Plaintiffs. This elected student government representative stated that he was
personally aware of long-running criminality on the part of the university’s Office of Student
Conduct; an office which had refused without explanation on the date of June 7, 2019 to begin an

investigation into the documented first-degree kidnappings of Plaintiffs. The elected CSUN
Case 4:21-cv-00156-SMR-SBJ Document 1 Filed 05/25/21 Page 6 of 32

representative stated on July 3, 2019 that he would be personally reaching out to UNLV
University Police Services Director Adam Garcia on behalf of Plaintiffs and that Director Adam
Garcia would be in direct contact with Plaintiffs in the immediate future. Director Adam Garcia
never contacted Plaintiffs regarding first-degree kidnappings which had occurred within the

jurisdiction of UNLV University Police Services.

15. In July 2019, LVMPD officer Brad Janecek directly perjured himself and defrauded
Plaintiffs in stating that he had received a “witness statement”. There were no third-party
witnesses to the crimes that were perpetrated against Plaintiffs; there were only victims of violent
crimes (Plaintiffs) and the criminal perpetrators of these violent crimes at the time and location
said crimes were committed. Brad Janecek specifically recounted information that had been
provided to him in this alleged “witness statement.” This information supplied by Brad Janecek
was identical to statements provided directly to Plaintiffs by the former property manager for the
“student housing” complex at which Plaintiffs were kidnapped in the first-degree. The crimes
perpetrated upon Plaintiffs occurred on a Saturday; the former property manager did not work on
the property on Saturdays and therefore, was clearly not a “witness”, as alleged by Brad Janecek.
This information was provided directly to Brad Janecek, as was the fact that the property
manager in question had directly admitted to Plaintiffs that an active CSN student had directly
admitted to physically assaulting both Plaintiffs. Brad Janecek continued to fraudulently insist
that he had received a “witness statement” from a “witness” to the crimes perpetrated against

Plaintiffs.

16. At the conclusion of this conversation in July 2019, Brad Janecek stated that he would be
filing harassment charges against one of the named criminal perpetrators (an active UNLV

student). Plaintiffs indicated directly to Brad Janecek that they would assist law enforcement and
Case 4:21-cv-00156-SMR-SBJ Document 1 Filed 05/25/21 Page 7 of 32

prosecutors in any/all ways necessary to ensure conviction. To date, Brad Janecek has never
followed through on this verbal promise to bring charges: this is a direct violation of the legal

rights of Plaintiffs as victims of violent crimes.

17. On July 24, 2019, Plaintiffs received an e-mail message from UNLV University Police
Services employee Michael West, in which Michael West refused to assist Plaintiffs in moving
forward with prosecuting the identified criminal perpetrators who had kidnapped Plaintiffs. This
e-mail has been part of a larger pattern on the part of UNLV University Police Services to
“coerce. harass, and intimidate” Plaintiffs for coming forward as whistleblowers. (See: 2020 06-

16, NYRA Due Process Amicus Brief, redacted).

18. On August 7, 2019, Plaintiffs attended a meeting with former UNLV College of Education
Dean Kim K. Metcalf and two UNLV University Police Services officers: Yusuf “Joe” Alliyani
and Ryan Willman. The purpose of this meeting was for UNLV University Police Services to
directly acknowledge that the crimes committed against Plaintiff were indeed a university police
matter. Officers Allivani and Willman directly acknowledged this fact, and directed Plaintiffs to
contact their immediate supervisor, Lt. Paul Velez. Plaintiffs did exactly as instructed by
University officers Alliyani and Willman and e-mailed Lt. Paul Velez the following day, August
8. 2019. In a criminally negligent manner, Lt. Paul Velez failed to ever respond to this written

communication from Plaintiffs.

19. On August 13, 2019, after over two months of suffering criminal retaliation and fraud,
Plaintiffs notified UNLV staff of Plaintiffs’ intention to transfer to an institution outside the State

of Nevada.
Case 4:21-cv-00156-SMR-SBJ Document 1 Filed 05/25/21 Page 8 of 32

20. University Police Services employees Juanita Fain, Adam Garcia, Paul Velez, Manuel
William Sigarroa, Yusuf “Joe” Alltyani, Rvan Willman, and Michael West abjectly failed in
providing for the safety of Plaintiffs in these matters. The intentional and reckless misconduct of
Defendants Fain, Garcia. Velez, Sigarroa, Alliyani, Willman and West continue to actively

endanger all law-abiding students, staff, and guests on UNLV’s Paradise, Nevada campus.

21. Juanita Fain directly refused Plaintiff's request to be provided with security while Plaintiffs
moved belongings from the “student housing” apartment at which Plaintiffs were kidnapped
directly outside of. As a result, Plaintiffs were subjected to repeated threats of violence via
illegal firearms by multiple active UNLV and CSN students that directly participated in the first-
degree kidnappings of Plaintiffs. On multiple occasions, Plaintiffs continued to be made victim
of harassment at the apartment complex that Plaintiffs had relocated to: this property is owned
and operated by the Nevada Svstem of Higher Education and is directly policed by UNLV’s

University Police Services.

22. University Police Services employees Adam Garcia, Paul Velez, Michael West. and Manuel
William Sigarroa deliberately and intentionally failed to respond to numerous written
communications regarding the confirmed first-degree kidnappings of Plaintiffs. Upon
exhausting all available avenues for redress of grievance at the university level, Plaintiffs began
contacting local Las Vegas newspapers reporters on the date of September 24, 2019
(approximately one month after relocating from Nevada under duress and terror). Immediately
upon contacting members of the press, Plaintiffs received a single email on September 24, 2019
from UNLV University Police Services Detective Manuel William Sigarroa, continuing
University Police Services’ documented efforts to “coerce, harass, and intimidate” Plaintiffs

(See: 2020 06-16, NYRA Due Process Amicus Brief, redacted). Despite having failed to begin an
Case 4:21-cv-00156-SMR-SBJ Document1 Filed 05/25/21 Page 9 of 32

investigation into crimes which had been reported directly to University Police Services in Mav
2019, Detective Sigarroa stated on September 24. 2019: “We investigate all crimes reported to
us...”. Detective Sigarroa failed to ever respond to a follow-up email from Plaintiffs requesting

that he submit questions in writing.

23. In September 2019, Plaintiffs were told by a Las Vegas Review-Journal reporter that
University Police Services had admitted to deleting the August 7, 2019 body camera footage of
Officers Alliyani and Willman. University Police Services failed to conform to litigation hold
processes requiring employees not to delete electronically stored information or discard paper
documents that may be relevant to a new or imminent legal case (UNLV staff and administrators
were informed on the dates of June 7 and June 10, 2019 by Plaintiffs that there was a potential

for future litigation regarding these matters).

24, Further, the deleting of this body camera evidence is in direct violation of the Constitution of
Nevada, which requires police departments to preserve evidence of violent crimes. Plaintiffs
seek default judgment against all named Defendants for this deliberate and criminal spoliation of

evidence.

25. Detective Manuel William Sigarroa has entered into a criminal conspiracy to enact false
arrest and imprisonment of Plaintiff #2. Detective Sigarroa’s criminally fraudulent, unsigned.
and undated affidavit in these matters resulted in the false arrest and false imprisonment of
Plaintiff #2 for twenty-six days. This arrest was wholly unconstitutional, as Plaintiff was
arrested without a warrant being provided. Fourteen months have passed since Detective
Sigarroa intentionally perjured himself before the courts of the State of Nevada; no trial was ever
brought by the State of Nevada on the fraudulent and knowingly false charges brought by

Detective Sigarroa. The wanton criminality perpetrated by Manuel William Sigarroa constitutes
Case 4:21-cv-00156-SMR-SBJ Document1 Filed 05/25/21 Page 10 of 32

a textbook example of DARVO (Deny Attack Reverse Victim Offender) tactics. Such conduct is
unlawful and a flagrant violation of the legal rights of Plaintiffs as confirmed victims of violent

crimes.

26. LVMPD has similarly violated all legal rights of Plaintiffs in these matters. Set. Jarvis
Dudley, the commanding officer of Brad Janecek, has engaged in criminal retaliation upon
Plaintiffs for bringing forth LVMPD Internal Affairs complaints regarding the improper
mishandling of the sworn police reports provided to LVMPD in these matters. Jarvis Dudley
directly stated to Plaintiffs that Plaintiffs had a choice to make: having first-degree kidnappings
prosecuted or continuing with Internal Affairs. This is an explicit and criminal threat to make
against violent crime victims. Jarvis Dudley has explicitly followed through on this threat and

has directly perjured himself in open court in the State of Nevada in these matters.

27, LVMPD Internal Affairs has white-washed clear-cut criminality on the parts of Brad Janecek
and Jarvis Dudley; LVMPD personnel Carlos Hank, Felix Felix, and Cierra Spronk-Lair have
been directly involved in these efforts. As commanding officer of South Central Area Command.
Stephen Connell has refused to respond to multiple letters seeking prosecution of the crimes
which have been sworn to by Plaintiffs under criminal penalty of perjury. As Sheriff of Clark
County, Nevada, Joe Lombardo has ultimate responsibility for the actions of his department.
Sheriff Lombardo’s documented explicit condoning of intentional misconduct by his
subordinates in this case has allowed the individuals that perpetrated the first-degree kidnappings
against Plaintiffs to remain at-large. This intentional misconduct negatively impacts the lives of
all law-abiding citizens nationwide, as at least one first-degree kidnapper has fled the State of

Nevada to avoid criminal prosecution. This first-degree kidnapper (an active CSN student at the
Case 4:21-cv-00156-SMR-SBJ Document 1 Filed 05/25/21 Page 11 of 32

time of the first-degree kidnappings) has continued to criminally dox the private, personal

information of Plaintiffs via the World Wide Web.

28. Sheriff Joe Lombardo has been publicly quoted as saying, “There’s nobody that dislikes a
bad cop more than a cop.” If Joe Lombardo truly stood by this quote. the first-degree
kidnappings of Plaintiffs would have been long ago prosecuted by LVMPD and the Clark County
District Attorney’s office. The evidence in this case clearly shows that this has not occurred
solely to help shield the University of Nevada, Las Vegas from financial liability for failing to
prevent foreseeable felonies which continued to be perpetrated against Plaintiffs continually from
the time of Plaintiffs’ kidnappings, and which continue through the present date. These
foreseeable felonies include attempts to murder Plaintiffs on multiple occasions in the immediate

aftermath of Plaintiffs’ first-degree kidnappings.

29. The State of Nevada is responsible for enforcing the laws of both the State of Nevada and
the United States of America. In their official capacities, Clark County District Attorney Steven
B. Wolfson, Nevada Attommey General Aaron D. Ford, and Nevada Governor Steve Sisolak have
criminally violated the legal rights of both Plaintiffs. The offices of Governor Steve Sisolak have
engaged in fraudulent communication against Plaintiffs, in knowingly and willfully
misrepresenting the Governor’s official oversight capacity of the Nevada System of Higher
Education. Until such time as Defendants Wolfson, Ford, and Sisolak are held to account for
facilitating the illegal violation of the legal rights of Plaintiffs, the State of Nevada will continue
to be a state in which the law ts flagrantly violated on the whims of public officials who, at

present, act as if they are above the laws of Nevada and the United States of America.

30. There is a widespread pattern of egregious police misconduct on university campuses

nationwide. Central Connecticut State University’s police department potentially endangered the
Case 4:21-cv-00156-SMR-SBJ Document1 Filed 05/25/21 Page 12 of 32

life of an officer after the officer had reported being raped by another officer “by denying back-
up when she called for it.” An outside firm later investigated Central Connecticut State's campus
police department and found that the department failed to take holding people accountable
seriously. According to an investigation, the Central Connecticut State University police

department hired officers with “red flags,” including criminal backgrounds.

31, University Police Services has directly endangered the lives of Plaintiffs in failing to even so
much as begin an investigation into felony offenses which have been confirmed by the State of
Nevada's Victims of Crime Program. It is clear that University Police Services fails to take
holding departmental employees accountable seriously and similarly hires individuals with
questionable backgrounds. University Police Services Director Adam Garcia has been
previously subject to civil rights lawsuits filed against him by officers at his previous institution,
the University of Nevada, Reno (UNR). It is public record that officers that have served under
Adam Garcia “don’t believe the chief rules with fairness and equity.” Adam Garcia has also had
to publicly apologize for university officers under his direct command threatening to shoot
university students whom they are legally sworn to protect. The unlawful atmosphere tolerated
under the direct command of Adam Garcia directly led to the criminal retaliation experienced by

Plaintiffs since coming forward and reporting the crimes perpetrated at Plaintiffs’ expense.

32. In the wake of the murder of University of Utah student-athlete Lauren McCluskey. Utah’s
Department of Public Safety reported that the University of Utah’s police department “did not
have a formalized process or procedure for handling IA cases.” It is clear that the same can
presently be said regarding UNLV’s University Police Services. To date, Plaintiffs have never
received any written response from UNLV’s University Police Services regarding Internal

Affairs complaint being submitted directly to University Police Services on October 2, 2019.
Case 4:21-cv-00156-SMR-SBJ Document 1 Filed 05/25/21 Page 13 of 32

33. Itis unacceptable for university staff, administrators, and legal counsel to be allowed to
exercise their personal prejudices unburdened by the same laws which are applied to the rest of
society. Campus officers and those to whom they report to are tasked with the undeniably
fundamental responsibility of keeping students safe. UNLV’s University Police Services abjectly

fails in this endeavor on an ongoing, daily basis.

34, University law enforcement best practices call for victims to share pictures related to their
case on a USB drive rather than (transmitting any images via email. When Plaintiffs attempted to
provide former UNLV University Police Services Associate Vice President Juanita P. Fain with a
USB drive containing photographic evidence of the crimes perpetrated against Plaintiffs, Juanita
P. Fain literally threw her hands up in the air to prevent Plaintiffs from providing her with this
evidence. Such blatantly egregious misconduct is indicative of University Police Services”

laissez-faire attitude regarding the safety of law-abiding students.

35. The Clery Act mandates that colleges and universities track, compile, and disclose crimes on
and near their campus, provide timely notification of safety threats, and report on criminal
activities. University Police Services has explicitly failed to abide by The Clery Act, in
criminally failing to disclose the first-degree kidnappings (and other related crimes) reported

under criminal penalty of perjury by Plaintiffs.

36. McCluskey v. State of Utah (2:\9-cv-00449) resulted in a $13.5 million settlement for the

family of former University of Utah student-athlete Lauren McCluskey. In filing their suit, the
McCluskey family sought discipline for anyone who “provided and authorized the misleading

public statements” previously given by the university that initially denied any inappropriate

behavior.
Case 4:21-cv-00156-SMR-SBJ Document 1 Filed 05/25/21 Page 14 of 32

37. UNLV’s University Police Services have similarly engaged in providing and authorizing
misleading public statements regarding Plaintiffs’ case. On Friday, September 13, 2019,
University Police Services released an email to all UNLV students under the heading of
“Kidnapping Hoax”. The kidnappings experienced by Plaintiffs are in no way a “hoax”: they are
unfortunately all too real, as directly evidenced by the fact that an active CSN student felt
emboldened enough to post video footage of part of these kidnappings on YouTube. This
footage remains on YouTube to this date, despite repeated attempts by Plaintiffs to have LVMPD
and University Police Services contact YouTube/Google Law Enforcement to have this footage

removed on emergency safety concerns.

38. Upon receiving a $13.5 million settlement from the University of Utah for failing to prevent
foreseeable felonies against her daughter, Jill McCluskey spoke of ~...egregious misconduct in
betraying a victim’s trust...~. As confirmed victims of violent crimes, Plaintiffs have similarly
experienced “egregious misconduct in betraying a victim’s trust”, perpetrated directly by each

named Defendant.

39. Each named Defendant has violated clearly established law. Plaintiffs seek the waiving of
each Defendant’s right to qualified immunity from damages. (See: 2020 06-16, NYRA Due

Process Amicus Brief, redacted).
40, Plaintiffs seek default judgement for spoliation of evidence.

41. Each Plaintiff requests default monetary judgement in the amount of $238,560.00 for “treble
damages” for lost wages (as directly approved by UNLV outside legal counsel Christian E.

Hardigree in June 2019), Additionally, each Plaintiff seeks $100,000 in restitution from each
Case 4:21-cv-00156-SMR-SBJ Document 1 Filed 05/25/21 Page 15 of 32

named Defendant and requests the Court to determine monetary damages resulting from pain and

suffering, severe mental and emotional distress, and loss of enjoyment of life.

42. Listed Concerned Parties

All crimes described are consistent with all facts presented in LVMPD Case Report Nos.
LLV 190500136167 and LLV 190700122842, criminal complaints made under penalty of perjury
in the state of Nevada (NRS 199.120).

Academic Freedom and Ethics Committee
1. Brenda Buck, Chair
- Criminal negligence (NRS 193.018)
2. Michael Hammer, Administrative
- Criminal negligence (NRS 193.018)

College of Education

 

3. Kim K. Metcalf, Ph.D., former Dean, College of Education
- Criminal negligence (NRS 193.018)

- Providing a knowingly false statement (NRS 618.705), on the date of August
13", 2019

. Ed Ronea, Director, Education Student Services Center, College of Education
- Criminal negligence (NRS 193.018)

- Providing a knowingly false statement (NRS 618.705), on the date of August
6!" 2019

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. Daniel Henry, former Academic Advisor, College of Education

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», Ana Hacsi, Administrative Assistant I]
- Offering false evidence (NRS 199.210)
- Providing a knowingly false statement (NRS 618.705)

~

. Vicky Hoffman, Administrative Assistant III
- Offering false evidence (NRS 199.210)
- Providing a knowingly false statement (NRS 618.705)

co

. Kristina Mejia, M.S., Administrative Assistant ['V
- Offering false evidence (NRS 199.210), on the date of August 7”, 2019

CSUN

Oo

. Savannah Baltera, Director, Student Involvement & Activities
Case 4:21-cv-00156-SMR-SBJ Document 1 Filed 05/25/21 Page 16 of 32

- Criminal negligence (NRS 193.018)

10, Patrick Alejaga, former Business Manager, CSUN
- Criminal negligence (NRS 193.018)

11. Hannah Patenaude, former President, CSUN
- Criminal negligence (NRS 193.018)

- Providing a knowingly false statement (NRS 618.705), on the date of July
23.2019

12. Josh Padilla, Chief of Staff, CSUN

Faculty Senate
13. Vicki Rosser, Faculty Senate

- Aiding and abetting Murder in the first-degree (NRS 200.310.1 and
200.340.1)

- Aiding and Abetting Attempted Murder — Gang Enhancement (NRS
200,.310.1 and 200.340.1)

- Fraud and Abuse — Improper Governmental Actions (NRS 281.611.1(a), (c),
(d), (e), 281.63 1.1(a), 281.631.1(b), and 281.631.2)

- Criminal negligence (NRS 193.018)
- Fraud (NRS 205.377)
14. Dak Kopec, Faculty Senate

- Aiding and abetting Murder in the first-degree (NRS 200.310.1 and
200.340.1)

- Aiding and Abetting Attempted Murder — Gang Enhancement (NRS
200.310.1 and 200.340.1)

- Fraud and Abuse — Improper Governmental Actions (NRS 281.611.1(a), (c),
(d), (e), 281.631.1(a), 281.631.1(b), and 281.631.2)

- Criminal negligence (NRS 193.018)
- Fraud (NRS 205.377)
15. Shannon Sumpter, Faculty Senate

- Aiding and abetting Murder in the first-degree (NRS 200.310.1 and
200.340.1)

- Aiding and Abetting Attempted Murder — Gang Enhancement (NRS
200.310.1 and 200.340.1)

- Fraud and Abuse — Improper Governmental Actions (NRS 281.611.1(a), (¢),
(d), (e), 281.631.1(a), 281.631.1(b), and 281.631.2)

- Criminal negligence (NRS 193.018)
- Fraud (NRS 205.377)
Case 4:21-cv-00156-SMR-SBJ Document 1 Filed 05/25/21 Page 17 of 32

16, Janis McKay, Faculty Senate

- Aiding and abetting Murder in the first-degree (NRS 200.310.1 and
200.340.1)

- Aiding and Abetting Attempted Murder — Gang Enhancement (NRS
200.310.1 and 200.340.1)

- Fraud and Abuse — Improper Governmental Actions (NRS 281.611.1(a), (c)s
(d), (e), 281.631.1(a), 281.631.1(b), and 281.631.2)

- Criminal negligence (NRS 193.018)
- Fraud (NRS 205.377)
17. Elaine Bunker, Faculty Senate

- Aiding and abetting Murder in the first-degree (NRS 200.310.1 and
200.340.1)

- Aiding and Abetting Attempted Murder — Gang Enhancement (NRS
200.310.1 and 200.340.1)

- Fraud and Abuse — Improper Governmental Actions (NRS 281.611.1(a), (c),
(d), (e), 281.631.1(a), 281.631.1(b), and 281.631.2)

- Criminal negligence (NRS 193.018)
- Fraud (NRS 205.377)
18. Jacob Thompson, Faculty Senate

- Aiding and abetting Murder in the first-degree (NRS 200.310.1 and
200.340.1)

- Aiding and Abetting Attempted Murder — Gang Enhancement (NRS
200.310.1 and 200.340.1)

- Fraud and Abuse — Improper Governmental Actions (NRS 281.611.1(a), (c),
(d), (e), 281.631.1(a), 281.631.1(b), and 281.631.2)

- Criminal negligence (NRS 193.018)
- Fraud (NRS 205.377)
19. Neil Opfer, Faculty Senate

- Aiding and abetting Murder in the first-degree (NRS 200.310.1 and
200.340.1)

- Aiding and Abetting Attempted Murder — Gang Enhancement (NRS
200.310.1 and 200.340.1)

- Fraud and Abuse — Improper Governmental Actions (NRS 281.611.1(a), (c),
(d), (e), 281.631.1(a), 281.631.1(b), and 281.631.2)

- Criminal negligence (NRS 193.018)
- Fraud (NRS 205.377)
20. Tondra De, Faculty Senate
Case 4:21-cv-00156-SMR-SBJ Document 1 Filed 05/25/21 Page 18 of 32

- Aiding and abetting Murder in the first-degree (NRS 200.310.1 and
200.340.1)

- Aiding and Abetting Attempted Murder — Gang Enhancement (NRS
200.310.1 and 200.340.1)

- Fraud and Abuse — Improper Governmental Actions (NRS 281.611.1(a), (¢),
(d), (e), 281.63 1.1(a), 281.631.1(b), and 281.631.2)

- Criminal negligence (NRS 193.018)
- Fraud (NRS 205.377)
21. Honghui Deng, Faculty Senate

- Aiding and abetting Murder in the first-degree (NRS 200.310.1 and
200.340.1)

- Aiding and Abetting Attempted Murder — Gang Enhancement (NRS
200.310.1 and 200.340.1)

- Fraud and Abuse — Improper Governmental Actions (NRS 281.611.1(a), (c),
(d), (e), 281.631.1(a), 281.631.1(b), and 281,631.2)

- Criminal negligence (NRS 193.018)
- Fraud (NRS 205.377)
22. William Leavitt, Faculty Senate

- Aiding and abetting Murder in the first-degree (NRS 200.310.1 and
200.340.1)

- Aiding and Abetting Attempted Murder — Gang Enhancement (NRS
200.310.1 and 200.340. 1)

- Fraud and Abuse — Improper Governmental Actions (NRS 281.611.1(a), (c),
(d), (e), 281.631.1(a), 281.631.1(b), and 281.631.2)

- Criminal negligence (NRS 193.018)
- Fraud (NRS 205.377)
23. Doris Watson, Faculty Senate

- Aiding and abetting Murder in the first-degree (NRS 200.310.1 and
200.340.1)

- Aiding and Abetting Attempted Murder — Gang Enhancement (NRS
200.310.1 and 200.340.1)

- Fraud and Abuse — Improper Governmental Actions (NRS 281.611.1(a), (c),
(d), (e), 281.631.1(a), 281.631.1(b), and 281.631.2)

- Criminal negligence (NRS 193.018)
- Fraud (NRS 205.377)
24. Kimberly James, Faculty Senate

- Aiding and abetting Murder in the first-degree (NRS 200.310.1 and
200.340.1)
Case 4:21-cv-00156-SMR-SBJ Document1 Filed 05/25/21 Page 19 of 32

- Aiding and Abetting Attempted Murder — Gang Enhancement (NRS
200.310.1 and 200.340.1)

- Fraud and Abuse — Improper Governmental Actions (NRS 281.611.1(a), (c),
(d), (e), 281.631.1(a), 281.631.1(b), and 281.631.2)

- Criminal negligence (NRS 193.018)
- Fraud (NRS 205.377)
25. Andrew Reves, Faculty Senate

- Aiding and abetting Murder in the first-degree (NRS 200.310.1 and
200.340.1)

- Aiding and Abetting Attempted Murder — Gang Enhancement (NRS
200.310.1 and 200.340.1)

- Fraud and Abuse — Improper Governmental Actions (NRS 281.611.1(a), (c),
(d), (e), 281.631.1(a), 281.631.1(b), and 281.631.2)

- Criminal negligence (NRS 193.018)
- Fraud (NRS 205.377)
26. Brvan Blankfield, Faculty Senate

- Aiding and abetting Murder in the first-degree (NRS 200.310.1 and
200.340.1)

- Aiding and Abetting Attempted Murder — Gang Enhancement (NRS
200.310.1 and 200.340.1)

- Fraud and Abuse — Improper Governmental Actions (NRS 281.611.1(a), (c),
(d), (e), 281.631.1(a), 281.631.1(b), and 281.631.2)

- Criminal negligence (NRS 193.018)
- Fraud (NRS 205.377)
27. Rhonda Montgomery, Faculty Senate

- Aiding and abetting Murder in the first-degree (NRS 200.310.1 and
200.340.1)

- Aiding and Abetting Attempted Murder — Gang Enhancement (NRS
200.310.1 and 200.340. 1)

- Fraud and Abuse — Improper Governmental Actions (NRS 281.611.1(a), (c),
(d), (e), 281.631.1(a), 281.631.1(b), and 281.631.2)

- Criminal negligence (NRS 193.018)
- Fraud (NRS 205.377)
28. Noelle Lefforge, former Faculty Senate

- Aiding and abetting Murder in the first-degree (NRS 200.310.1 and
200.340.1)

- Aiding and Abetting Attempted Murder — Gang Enhancement (NRS
200.310.1 and 200.340.1)
Case 4:21-cv-00156-SMR-SBJ Document1 Filed 05/25/21 Page 20 of 32

- Fraud and Abuse — Improper Governmental Actions (NRS 281.611.1(a), (c),
(d), (e), 281.631.1(a), 281.631.1(b), and 281.631.2)

- Criminal negligence (NRS 193.018)
- Fraud (NRS 205.377)
29. Rosan Mitola, Faculty Senate

- Aiding and abetting Murder in the first-degree (NRS 200.310.1 and
200.340.1)

- Aiding and Abetting Attempted Murder — Gang Enhancement (NRS
200.310.1 and 200.340.1)

- Fraud and Abuse — Improper Governmental Actions (NRS 281.611.1(a), (¢),
(d), (e), 281.631.1(a), 281.631.1(b), and 281.631.2)

- Criminal negligence (NRS 193.018)
- Fraud (NRS 205.377)
30. Addie Rolnick, Faculty Senate

- Aiding and abetting Murder in the first-degree (NRS 200.310.1 and
200.340.1)

- Aiding and Abetting Attempted Murder — Gang Enhancement (NRS
200.310.1 and 200.340.1)

- Fraud and Abuse — Improper Governmental Actions (NRS 281.611.1(a), (c),
(d), (e), 281.631.1(a), 281.631.1(b), and 281.631.2)

- Criminal negligence (NRS 193.018)
- Fraud (NRS 205.377)
31. Oluwafunmilola Okuyemi, Faculty Senate

- Aiding and abetting Murder in the first-degree (NRS 200.310.1 and
200.340.1)

- Aiding and Abetting Attempted Murder — Gang Enhancement (NRS
200.310.1 and 200.340.1)

- Fraud and Abuse — Improper Governmental Actions (NRS 281.611.1(a), (c),
(d), (e), 281.631.1(a), 281.631.1(b), and 281.631.2)

- Criminal negligence (NRS 193.018)
- Fraud (NRS 205,377)
32. Paul Forster, Faculty Senate

- Aiding and abetting Murder in the first-degree (NRS 200.310.1 and
200.340.1)

- Aiding and Abetting Attempted Murder — Gang Enhancement (NRS
200.310.1 and 200.340.1)

- Fraud and Abuse — Improper Governmental Actions (NRS 281.611.1(a), (c),
(d), (e), 281.631.1(a), 281.631.1(b), and 281.631.2)
Case 4:21-cv-00156-SMR-SBJ Document1 Filed 05/25/21 Page 21 of 32

- Criminal negligence (NRS 193.018)
- Fraud (NRS 205.377)

Financial Aid and Scholarships
33. Norm Bedford, Executive Director, Financial Aid and Scholarships
- Criminal negligence (NRS 193.018)
34, Mark Freeland, Sr. Associale Director, Financial Aid and Scholarships
- Criminal negligence (NRS 193.018)
- Malicious acts (NRS 193.0175)

Nevada System of Higher Education

35. Melody Rose. Ph.D., Chancellor, Nevada System of Higher Education
- Criminal negligence (NRS 193.018)

36. Thom Reilly, Ph.D., former Chancellor, Nevada System of Higher Education
- Criminal negligence (NRS 193.018)

37. Dean J. Gould, former Chief of Staff and Special Counsel to the Board of Regents
- Criminal negligence (NRS 193.018)
- Terrorism (U.S.C. Title 22 Chapter 38, Section 2656f(d))

38. Jason Geddes, Ph.D., former Chairman, Board of Regents
- Criminal negligence (NRS 193.018)

39. Mark W. Doubrava, M.D., former Vice Chairman, Board of Regents
- Criminal negligence (NRS 193.018)

40. Dr. Patrick R. Carter, Board of Regents
- Criminal negligence (NRS 193.018)

41. Amv J. Carvalho, Board of Regents
- Criminal negligence (NRS 193.018)

42. Carol Del Carlo, Board of Regents
- Criminal negligence (NRS 193.018)

43. Trevor Hayes, former Board of Regents
- Criminal negligence (NRS 193.018)

44. Sam Lieberman, former Board of Regents
- Criminal negligence (NRS 193.018)

45. Cathy McAdoo, Board of Regents
- Criminal negligence (NRS 193.018)
Case 4:21-cv-00156-SMR-SBJ Document 1 Filed 05/25/21 Page 22 of 32

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Donald Sylvantee McMichael Sr., Board of Regents
- Criminal negligence (NRS 193.018)
John T. Moran Ill, Board of Regents
- Criminal negligence (NRS 193.018)
Kevin J. Page, former Board of Regents
- Criminal negligence (NRS 193.018)
- Terrorism (U.S.C. Title 22 Chapter 38, Section 2656f(d))

. Laura E. Perkins, Board of Regents

- Criminal negligence (NRS 193.018)

. Rick Trachok, Board of Regents

- Criminal negligence (NRS 193.018)

. Joseph C. Arrascada, Board of Regents

- Criminal negligence (NRS 193.018)

. Patrick J. Boylan, Board of Regents

- Criminal negligence (NRS 193.018)

. Byron Brooks, Board of Regents

- Criminal negligence (NRS 193.018)

. Lois Tarkanian, Ph.D., Board of Regents

- Criminal negligence (NRS 193.018)

Office of General Counsel

 

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56.

Elda Luna Sidhu, Esq., General Counsel
- Criminal negligence (NRS 193.018)
Debra L. Pieruschka, Esq., Assistant General Counsel
- Criminal negligence (NRS 193.018)
- Fraud (NRS 205.377)
- Malicious acts (NRS 193.0175)
- Terrorism (U.S.C. Title 22 Chapter 38, Section 2656f(d))

- Violations of the Family Educational Rights and Privacy Act (FERPA) (20
U.S.C. § 1232g; 34 CFR Part 99). UNLV/NSHE has been in active violation
of this law since Saturday, October 5'"", 2019 (the 45" date of notice the
University was provided regarding their legally-mandated FERPA
obligations)

- Violations of Title LX of the Education Amendments of 1972, 20 U.S.C.
§1681

- Witness intimidation (NRS 199,230)
Case 4:21-cv-00156-SMR-SBJ Document1 Filed 05/25/21 Page 23 of 32

57. Erika Noltie, Assistant to Vice President and General Counsel, Office of the General
Counsel

- Criminal negligence (NRS 193.018)

58. Sheena Imes, f-k.a. Sheena Clow, Paralegal Researcher, Office of the General
Counsel

- Criminal negligence (NRS 193.018)

Office of Information Technology
59. Lori Temple, Vice Provost for Information Technology
- Criminal negligence (NRS 193.018)
60. Chinam Seto, Supervisor, Google Apps Administrator
- Criminal negligence (NRS 193.018)

Office of Student Conduct
61. Phillip Burns, Director, Office of Student Conduct
- Criminal negligence (NRS 193.018)
- Malicious acts (NRS 193.0175)
- Offering false evidence (NRS 199,210), on the date of June 18" 2019
- Providing a knowingly false statement (NRS 618.705)
- Terrorism (U.S.C. Title 22 Chapter 38, Section 2656f(d))
- Violation of rights to due process

- Violations of Title [X of the Education Amendments of 1972, 20 U.S.C.
§1681

62. Scott Hoffman, MS, Student Conduct Coordinator / Rebel Support Team Care
Manager

- Criminal negligence (NRS 193.018)

Office of Title [LX Compliance

** Phillip Burns, Title IX Deputy Coordinator, ASCA (Association for Student Conduct
Administration) National Director, 2013 — 2015

- Criminal negligence (NRS 193.018)

- Malicious acts (NRS 193.0175)

- Offering false evidence (NRS 199.210), on the date of June 1g", 2019
- Providing a knowingly false statement (NRS 618.705)

- Terrorism (U.S.C. Title 22 Chapter 38, Section 2656f(d))

- Violation of rights to due process
Case 4:21-cv-00156-SMR-SBJ Document 1 Filed 05/25/21 Page 24 of 32

- Violations of Title [X of the Education Amendments of 1972, 20 U.S.C.
§1681

63. Michelle Sposito, Equal Employment and Title IX
- Criminal negligence (NRS 193.018)

- Violations of Title [X of the Education Amendments of 1972, 20 U.S.C.
$1681

64. Barrett Morris, former Sr. Investigator and Title LX Coordinator
- Criminal negligence (NRS 193.018)

- Violations of Title [X of the Education Amendments of 1972, 20 U.S.C.
§1681

65. Harriet E. Barlow, Ph.D., Title IX Deputy Coordinator (Executive Director, The
Intersection)

- Criminal negligence (NRS 193.018)

- Violations of Title [IX of the Education Amendments of 1972, 20 U.S.C,
§1681

66. Gregory Gardner, Equal Employment and Title IX Analyst
- Criminal negligence (NRS 193.018)
- Fraud (NRS 205.377), with maliciousness (NRS 193.0175)

- Violations of Title LX of the Education Amendments of 1972, 20 U.S.C.
§1681

Office of the Executive Vice President and Provost

67. Diane Z. Chase, former Executive Vice President and Provost
- Criminal negligence (NRS 193.018)

- Fraud (NRS 205.377)
- Malicious acts (NRS 193.0175)
- Witness intimidation (NRS 199.230)
68. Chris L. Heavey, Ph.D., Interim Executive Vice President and Provost
- Criminal negligence (NRS 193.018)
69. David G. Schwartz, Ph.D., Associate Vice Provost for Faculty Affairs
- Criminal negligence (NRS 193.018)
70. Joanna A. DiBella, MBA, Executive Assistant to the Provost, Chair Elect
- Criminal negligence (NRS 193.018)
- Malicious acts (NRS 193.0175)

Office of the President
Case 4:21-cv-00156-SMR-SBJ Document1 Filed 05/25/21 Page 25 of 32

71. Keith E. Whitfield, Ph.D., President
- Criminal negligence (NRS 193.018)
72. Marta Meana, Ph.D., former President
- Criminal negligence (NRS 193.018)
- Malicious acts (NRS 193.0175)

Office of the Registrar
73. Dr. Sam Fugazzotto, Registrar

- Criminal negligence (NRS 193.018)

- Violations of the Family Educational Rights and Privacy Act (FERPA) (20
U.S.C. § 1232g; 34 CFR Part 99). The Office of the Registrar has been in
active violation of this law since Saturday, October 5'", 2019 (the 45" date of
notice the University was provided regarding their legally mandated FERPA
obligations)

Office of the Vice President for Student Affairs

74, Juanita Fain, Ph.D., Vice President for Student Affairs
- Criminal negligence (NRS 193.018)
- Fraud (NRS 205.377)
- Malicious acts (NRS 193.0175)
- Offering false evidence (NRS 199.210)
- Providing a knowingly false statement (NRS 618.705)
- Witness intimidation (NRS 199.230)

75. Stephanie Reahm, Special Assistant to the Vice President of Student Affairs
- Criminal negligence (NRS 193.018)
- Fraud (NRS 205.377)
- Impersonating an attorney/legal expert
- Malicious acts (NRS 193.0175)
- Offering false evidence (NRS 199.210)
- Providing a knowingly false statement (NRS 618.705)
- Witness intimidation (NRS 199.230)

76. Joshua Jensen, Administrative Assistant III, Vice President’s Office
- Criminal negligence (NRS 193.018)
- Harassment (NRS 200.571), on the date of July 25", 2019
- Malicious acts (NRS 193.0175)
Case 4:21-cv-00156-SMR-SBJ Document1 Filed 05/25/21 Page 26 of 32

- Offering false evidence (NRS 199.210)
- Providing a knowingly false statement (NRS 618.705)

School of Life Sciences

77. Ronald T. Brown, Dean, Integrated Health Sciences
- Criminal negligence (NRS 193.018)

78, Lung-Chang Chien, DrPH, Public Health
- Criminal negligence (NRS 193.018)

SRWC
79. Erin Farrar, Executive Director of Campus Recreational Services and SRWC
Facilities
- Petit larceny (NRS 205.240)

- Violation of Chapter 34, §602.17(g)(2): “Makes clear in writing that
institutions must use processes that protect student privacy and notify
students of any projected additional student charges associated with the
verification of student identity at the time of registration or enrollment.”

SRWC, Clinical Services

**Phillip Burns, Director, Student Wellness
- Criminal negligence (NRS 193.018)
- Malicious acts (NRS 193.0175)
- Offering false evidence (NRS 199.210). on the date of June 18", 2019
- Providing a knowingly false statement (NRS 618.705)
- Terrorism (U.S.C. Title 22 Chapter 38, Section 2656f(d))
- Violation of rights to due process

- Violations of Title IX of the Education Amendments of 1972, 20 U.S.C.
§1681

80. Shauna K. Landis. Psy.D., Director, Clinical Services

- Criminal negligence (NRS 193.018)

- Medical malpractice (NRS 414.097)

- Offering false evidence (NRS 199.210). on the date of July 29", 2019
81. Donalda Binstock, MSW, LSW, Care Manager, Student Wellness

- Criminal negligence (NRS 193.018)

82. Sonia Dhaliwal, Psy.D. LP, Training Director, Student Counseling and Psychological
Services (CAPS)

- Criminal negligence (NRS 193.018)
Case 4:21-cv-00156-SMR-SBJ Document1 Filed 05/25/21 Page 27 of 32

- Medical malpractice (NRS 41A.097)

- Providing a knowingly false statement (NRS 618.705)
83. James Jobe. Ph.D., former UNLV school Psychologist

- Criminal negligence (NRS 193.018)

- Medical malpractice (NRS 414.097)

- Providing a knowingly false statement (NRS 618.705)

U District
84. Chad M. Clark, Community Manager, U District
- Criminal negligence (NRS 193.018)
- Fraud (NRS 205.377)
- Grand larceny (NRS 205.220)
- Providing a knowingly false statement (NRS 618.705)

University Police Services

** Juanita Fain, Ph.D., Associate Vice President (Associate Vice President/Chief of
Police)

- Criminal negligence (NRS 193.018)
- Fraud (NRS 205.377)
- Malicious acts (NRS 193.0175)
- Offering false evidence (NRS 199.210)
- Providing a knowingly false statement (NRS 618.705)
- Witness intimidation (NRS 199.230)
85. Adam Garcia, Associate Vice President & Director, University Police Services
- Criminal negligence (NRS 193.018)
86. Lt. Paul Velez, University Police Services
- Criminal negligence (NRS 193.018)
87. Det. M. William Sigarroa, University Police Services
- Criminal negligence (NRS 193.018)
- Terrorism (U.S.C. Title 22 Chapter 38, Section 2656f(d))
88. Yusuf “Joe” Allivani, P#298, University Police Services
- Criminal negligence (NRS 193.018)
- Destruction of evidence (NRS 199.220)
89. Ryan Willman, P#341, University Police Services
- Criminal negligence (NRS 193.018)
Case 4:21-cv-00156-SMR-SBJ Document1 Filed 05/25/21 Page 28 of 32

- Destruction of evidence (NRS 199.220)
90, Michael West, Administrative Assistant I], University Police Services
- Criminal negligence (NRS 193.018)

- Providing a knowingly false statement (NRS 618.705), on the date of July
24", 2019

Additional concerned parties
91. Heather Rappaport, University of Nevada, Las Vegas
92. Jon Tucker, University of Nevada, Las Vegas
93. Valentine Baron, University of Nevada, Las Vegas
94, David Freeman, Blackfish Investments
95. Shelley Freeman, Blackfish Investments
96. Josh Freeman, Blackfish Investments
97, Justin Earl, Blackfish Investments
98. Lisa Shervch, Nevada Department of Health and Human Services
99, Erika Pond, Nevada Victims of Crime Program
100, Ross Armstrong, Nevada Department of Child and Family Services
101. Richard Whitley, Nevada Department of Health and Human Services
102. Barnes and Nobles, B&N Inc., Palladium Society member
103. Hilton Hotels and Resorts. Palladium Society member
104, Andrew Chemg, Panda Restaurant Group, Palladium Society member
105. Peggy Cherng, Panda Restaurant Group, Palladium Society member
106, Brian Greenspun, Las Vegas Sun, Palladium Society member
107. Timothy Sell, Office of Civil Rights, Department of Education
108. Bernie Cieplak, Student Privacy Policy Office, Department of Education

43. The Plaintiffs ask of the court to consider granting the impaneling of a grand jury based on
the precedent from Madison Smith in Kansas, with applicable law also being in the state of
Nevada, where the fraud against the Plaintiffs originated while the Plaintiffs were employees of
the State of lowa. The Plaintiffs request this grand jury to be able to determine the full extent of
the already documented “fraud” (NWCCU) that began in Iowa. Plaintiffs request to subpoena
relevant concerned parties and witnesses. Plaintiffs recognize the complex nature of this case and
wish to make clear through depositions the full parameters of the crimes committed.
Case 4:21-cv-00156-SMR-SBJ Document 1 Filed 05/25/21 Page 29 of 32

Respectfully Submitted,

bh OF
Neal O'Flaherty
P.O. Box 942
Moriarty, NM 87035

and

ADylan CO! Flaherty
P.O. Box 942
Moriarty, NM 87035

Date: May 23, 202]
Case 4:21-cv-00156-SMR-SBJ Document 1 Filed 05/25/21 Page 30 of 32

ELECTRONIC CERTIFICATE OF SERVICE

WE HEREBY CERTIFY that on May 23, 2021. true and correct copies of this document have

been served electronically to those on the attached Service List.

bh OF
Neal O'Flaherty

Date: May 23, 2021

 

? Dylan orFlaney

Date: May 23, 2021
Case 4:21-cv-00156-SMR-SBJ Document 1 Filed 05/25/21 Page 31 of 32

BRIEF SERVICE LIST

The undersigned parties hereby certify that on May 23, 2021, electronic copies of the

foregoing Complaint for Neal O'Flaherty and Dylan O'Flaherty, were mailed electronically to the

following:

Aaron D. Ford

State Capitol Building
101 N Carson St.
Carson City, NV 89701
agcomplaint(@)ag.nv.gov
scheduling/@gov.nv.gov

Lisa Schaller, Executive Director
Insurance & Loss Management
Nevada System of Higher Education
2601 Enterprise Rd.

Reno, NV 89512
Ischaller‘@nshe.nevada.edu

Office of General Counsel

Las Vegas Metropolitan Police Department
400 S$. Martin Luther King Jr. Blvd.

Las Vegas, NV 89106

PIO@|vympd.com

Attorneys for Defendant-Appellants

Joseph Charles Reynolds, Chief Counsel
Nevada System of Higher Education
2601 Enterprise Rd.

Reno, NV 89512
jrevnolds‘@nshe.nevada.edu

Mandy Hagler, Risk Manager, State of Nevada
201 S. Roop Street, Suite 20]

Carson City, NV 89701

mhagler@admin.ny. gov

lh OF
Neal O'Flaherty

Date: May 23, 2021

 

D. A. OF baherly
latte ‘
Dylan O'Flaherty

Date: May 23, 2021
  
   
  

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